                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN


In re:
         Cindy Martinson                                            Case No. 20-23758-kmp
                                                                    Chapter 13
                                  Debtor.


         NOTICE AND REQUEST TO MODIFY CONFIRMED CHAPTER 13 PLAN
                          UNDER 11 U.S.C. §1329(d)


         The debtor filed papers with the Court requesting modification of the confirmed Chapter 13 Plan in
the above case under the chapter 13 bankruptcy provisions of the Coronavirus Aid, Relief, and Economic
Security Act (“CARES Act”). The CARES Act amended the Bankruptcy Code by adding 11 U.S.C.
§1329(d), which provides, “a plan confirmed prior to [March 27, 2021] . . . may be modified upon the
request of the debtor if—(A) the debtor is experiencing or has experienced a material financial hardship
due, directly or indirectly, to the coronavirus disease 2019 (COVID–19) pandemic”. Qualifying plans
modified under §1329(d)(1) “may not provide for payments over a period that expires more than 7 years
after the time that the first payment under the original confirmed plan was due.” §1329(d)(2). Section
1329(d) expires on March 27, 2022.
         Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)
         If you do not want the Court to confirm the modified plan as proposed, or if you want the
Court to consider your views on the request, then on or before 21 days after service of this notice
(the “Notice Period”) you or your attorney must file an objection that states the factual and legal
bases therefor. If the objection states a plausible basis in fact and law, the Court will schedule a
hearing on the motion to modify. File your written objection electronically or mail it to:
                                       Clerk of Bankruptcy Court
                                    517 E. Wisconsin Ave, Room 126
                                      Milwaukee, WI 53202-4581

         If you mail your objection to the Court for filing, you must mail it early enough so the Court will
receive it on or before the expiration of the Notice Period.
         If you or your attorney do not take these steps, the Court will presume you consent to the
proposed modification of the plan and forfeit any objection to it.



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     REQUEST TO MODIFY CONFIRMED CHAPTER 13 PLAN PURSUANT TO §1329(d)

1.   The debtor has experienced the following material financial hardship due, directly, or indirectly, to
     the COVID-19 pandemic:

     A. Ms. Martinson relies partially on income from her adult daughters to make her plan payments. Ms.
        Martinson, her adult daughter, and grandchild are all suffering from COVID-19, despite having been
        vaccinated and wearing masks whenever feasible. One daughter is currently hospitalized and Ms
        Martinson is suffering considerably and not recovering quickly. All the earners in the household have
        missed quite a bit of work in the last month.

2.   The plan, which the court originally confirmed on February 16, 2021, is modified as follows:

     a. Debtor will skip her plan payments for February and March 2022, and resume in April 2022.
     b. Debtor’s plan will extend up to 67 months from the date the first payment was due to
        accommodate the skip and remain feasible.
     c. The attorneys’ fee for the filing and preparation of this modified plan is $300.00; this fee shall
        be paid through the Plan.

All remaining terms of the Chapter 13 Plan originally confirmed on February 16, 2021, are unaffected. In
the event of a conflict between the terms of the confirmed Plan and the terms of this modification, the
terms of this modification control.

3.   Notice and Service: The debtor[s] served this modification and notice of a 21-day objection period
     on all interested parties (the debtor, the trustee, the United States trustee and all creditors) as
     required by Fed. R. Bank. P. 3015(h), unless otherwise ordered.

     Note: A certificate of service must be filed with this request for plan modification demonstrating
     that this proposed modification has been served on all interested parties (the debtor[s], the trustee,
     the United States trustee and all creditors) as required by Fed. R. Bank. P. 3015(h), or on those
     parties required by court order.

    WHEREFORE, the proponent requests that the Court approve this modification to the confirmed
Chapter 13 Plan.

                                             CERTIFICATION

          Each proponent or the attorney for each proponent must sign this certification. If the proponent is
the Debtor, the Debtor’s attorney must sign this certification, and the Debtor may, but is not required to
sign. If the Debtor does not have an attorney, the Debtor must sign this certification. The provisions in
this modified Chapter 13 plan are identical to those contained in the official local form other than the
changes listed in part 2. I certify under penalty of perjury that the foregoing is true and correct.

Respectfully submitted this the 21st day of February 2022,

/s/ Deborah A. Stencel
Deborah A. Stencel, Attorney for proponent
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Milwaukee, WI 53203
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